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                            UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                               WESTERN DIVISION
11 Consumer Financial Protection
12 Bureau,
13              Plaintiff,                     Case No. 2:15-cv-9692-PSG(Ex)
14                                             (Lead Case)
                      v.                          consolidated with
15                                             Case No. 2:16-cv-2725-PSG(Ex) and
16 D and D Marketing, Inc., d/b/a              Case No. 2:16-cv-2724-PSG(Ex)
   T3Leads, et al.,
17
                Defendants.                    Honorable Philip S. Gutierrez
18
19                                             [PROPOSED] ORDER

20 Consumer Financial Protection               Hearing Date & Time: April 17, 2017;
   Bureau,                                     1:30 p.m.
21
22              Plaintiff,                     Courtroom 6A, 350 West 1st Street, 6th
23                                             Floor, Los Angeles, California 90012
                      v.
24
25 Davit Gasparyan,
26              Defendant.
27
28


         ORDER ON MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS IN RELATED ACTIONS
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 1 Consumer Financial Protection
 2 Bureau,
 3                 Plaintiff,
 4
                         v.
 5
 6 Dmitry Fomichev,
 7                 Defendant.
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 9
10           The Consumer Financial Protection Bureau brought this action against D and
11 D Marketing, Inc., d/b/a T3Leads, Grigor Demirchyan and Marina Demirchyan, and
12 two related actions, one against Davit Gasparyan, and one against Dmitry Fomichev,
                                                       1
13 under the Consumer Financial Protection Act of 2010. Each defendant in the related
14 cases moved to dismiss under Federal Rule of Civil Procedure 12(b)(6). The Court
15 denied those motions in a consolidated Order on November 17, 2016. This matter is
16 now before the Court on Gasparyan’s Motion to Consolidate Pretrial Proceedings in
17 Related Actions. Upon consideration of the motion, all related filings, and any
18 arguments presented in support, the motion is GRANTED IN PART and DENIED
19 IN PART.
20           Finding that the matters involve common questions of law and fact, that
21 consolidation for all purposes will promote efficiency and avoid the potential for
22 inconsistency, and that there is good cause to do so, the Court ORDERS the
23 following actions CONSOLIDATED FOR ALL PURPOSES, under Federal Rule of
24 Civil Procedure 42(a)(2):
25           (1) CFPB v. D and D Marketing, et al., 2:15-cv-9692-PSG(Ex);
26           (2) CFPB v. Dmitry Fomichev, 2:16-cv-2724-PSG(Ex); and
27
     1
28       12 U.S.C. §§ 5536(a)(3), 5564, 5565.

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             ORDER ON MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS IN RELATED ACTIONS
Case 2:15-cv-09692-PSG-E Document 77-2 Filed 03/22/17 Page 3 of 3 Page ID #:560



 1        (3) CFPB v. Davit Gasparyan, 2:16-cv-2725-PSG(Ex).
 2 Case number 2:15-cv-9692 PSG(Ex) shall be the lead case. The caption of every
 3 document filed by the parties in these consolidated actions shall denote the lead case
 4 number. All documents filed and served to date in the now-consolidated cases
 5 identified above are hereby deemed part of the record in these consolidated cases.
 6        Gasparyan’s request to adjourn the Scheduling Conference is DENIED AS
 7 MOOT because the Court already set scheduling conferences on the same day for all
 8 three cases.
 9        IT IS SO ORDERED.
10
11 Dated:
12                                        _________________________________
                                          Philip S. Gutierrez
13                                        United States District Judge
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         ORDER ON MOTION TO CONSOLIDATE PRETRIAL PROCEEDINGS IN RELATED ACTIONS
